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                                                          UNITED STATES DISTRICT COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                     ~ Western Division
                                                                   Plaintiff, ~
                                   °S                                         ~ Case Number: 2:18-CR-00529-MWF-3              Indictment
                                                                              ~ Initial App. Date: 10/12/2018                 Bond
Alphonso Lloyd                                                                ~ Initial App. Time: 2:00 PM




                                                                 Defendant. ~ Date Filed: 08/17/2018
                                                                            ~ Violation: 18:1349, 18:1028(fl,
                                                                            ~ 18:1028(ax7). 18:1028A(ax 1)             ~      /a IL
                                                                            ~ CourtSmart/ Reporter:

        PROCEEDINGS HELD BEFORE IJIVITED STATES                                                      CALENDAR/PROCEEDINGSSHEET
           MAGISTRATE JUDGE: Jean P. Rosenbluth                                                       LOCAL/OUT-OF-DISTRICT CASE




      PRESENT:                    Martinez, Beatriz                                                                                 None

                                     Deputy Clerk                            Assistant U.S. Attorney                       Interpreter/Language
             ~ IN~'IAL APPEARANCE NOT HELD -CONTINUED
             defendant informed of charge and fight to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                 ~ preliminary hearing OR ~ removal hearing /Rule 20.
                Defendant states true name ~ is as chazged ~ is
                Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed to
                file all future documents reflecting the true name as stated on the record.
                Defendant advised of,conseq e es falsepstate~ment in f ci affidavit. ~ Financial Affidavit ordered SEALED.
             ❑D Attorney: Da~+d~J-~a1                 e      Rppmhtedd~rev. Appointed ~ Poss. Contribution (see separate order)
                    Special appearance by:
             ~ Government's request for detention is: ~ GRANTED ~ DETIIED ~ WITHDRAWN ~ CONTINUED
             ~ Defendant is ordered: ~ Permanently Detained ~ Temporarily Detained (see separate order).
                BAIL FIXED AT $                                         (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDTTIONS)
             ~ Government moves to UNSEAL Complaint/Indictmenbinformation/Entire Case: ~ GRAN'TED ~ DENIED
             D Preliminary Hearing waived.
                Class B Misdemeanor ~ Defendant is advised of maximum penalties
             ~ This case is assigned to Magistrate Judge                                                  .Counsel are directed to contact the clerk for the
                setting of all further proceedings.
             D PO/PSA WARRANT ~ Counsel are directed to contact the clerk for
                District Judge                                                             for the setting offiuther proceedings.
             ~ Preliminary Heazing set for                                    at 4:30 PM
             ~ PIA set for:                                    at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
             ~ Government's motion to dismiss case/defendant                                                 only: ~ GRANTED ~ DENIED
             ~ Defendants motion to dismiss for lack of probable cause: ~ GRANTED ~ DENIED
             ~ Defendant executed Waiver of Rights. ~ Process received.
                Court ORDERS defendant Held to Answer to                                    Disfict of
                 ~ Bond to transfer, if bail is posted. Defendant to report on or before
                     Warrant of removal and final commitment to issue. Date issued:                                By CRD:
                 ~ Warrant ofremoval and final commitment are ordered stayed until
             ~ Case continued to(Date)                                          (Time)                                   AM / PM
                Type of Hearing:                                   Before Judge                                        /Duty Magistrate Judge.
                Proceedings will be held in the ~ Duty Courtroom                                ~ Judge's Courtroom
             ~ Defendant committed to the custody ofthe U.S. Marshal ~ Summons: Defendant ordered to report to USM for processing.
                Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.                                                                                      ~
             ~7 Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.                                         e-~' 1 h       (
             ~ REUSE RDER NO:                                                             a             1" ~ ~~~QS          ~ bA( 1 '~                            r         Q rs'T
             fir:                                                                                                                         I       ~ SC K
                                           ~ USPO                                            L    /~                  READY                       p[,~ (((//
                                                                                                                                                          /~~~   i~C a S
          C ~'~                                                                ~~                 1/                     Deputy Clerk Initials
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         M-5 (10/13)                             CALENDAR/PROCEEDING SHEET- LOCALJOUT-OF-DISTRICT CASE                                         Page 1 of]
